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 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00069 LJO

12                                Plaintiff,             STIPULATION AND ORDER FOR REVIEW OF
                                                         PERSONNEL RECORDS
13                          v.

14   JAMES YORK, et al,

15                               Defendants.

16

17          The United States by and through Philip A. Talbert, U.S. Attorney and Assistant U.S. Attorneys,

18 Kimberly A. Sanchez and Jeffrey A. Spival, and Eric Fogderude, counsel for Trenell Monson and Dale

19 Blickenstaff, counsel for Anthony Windfield stipulate to an inspection of personnel files and an in

20 camera review under the circumstances set forth below based upon a defense request for such a review.

21 Pursuant to 28 U.S.C., section 1651(a) which provides, “The Supreme Court and all courts established

22 by Act of Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions

23 and agreeable to the usages and principles of law.”

24

25          Date: 9/1/17                                         PHILLIP A. TALBERT

26                                                               United States Attorney

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28                                                               /s/ Kimberly A. Sanchez


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           Case 1:16-cr-00069-JLT-SKO Document 423 Filed 09/06/17 Page 2 of 2

 1                                                               KIMBERLY A. SANCHEZ

 2                                                               Assistant U.S. Attorney

 3

 4          Date: 9/1/17                                          /s/ Eric Fogderude

 5                                                               ERIC FOGDERUDE

 6                                                               Counsel for Trenell MONSON

 7

 8          Date: 9/2/17                                          /s/ Dale A. Blickenstaff

 9                                                               DALE A. BLICKENSTAFF

10                                                               Counsel for Anthony WINDFIELD

11          IT IS ORDERED, that Fresno Police Department:

12          a.      Undertake a review of the personnel file of Sgt. Andre Benson for any disciplinary

13 actions, allegations of misconduct that bear upon credibility, documentation that is relevant to

14 truthfulness or that is exculpatory in nature. The review is to be completed on or before September 12,

15 2017. Upon completion of the review, Fresno Police Department shall provide notice to the parties and

16 to the Court, and indictate whether a further in camera review is warranted.

17          b.      Should any such documentation or allegation be found, an in camera review of the

18 documents shall be arranged with the Court to occur on or before September 20, 2017 for a

19 determination of whether the information should be provided to the parties for potential use at trial or

20 any evidentiary hearing at which the witnesses testify.

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22 IT IS SO ORDERED.

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        Dated:     September 5, 2017                         /s/ Lawrence J. O’Neill _____
24                                                UNITED STATES CHIEF DISTRICT JUDGE

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